                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
                                                    )       No.3:08-CR-125
V.                                                  )       (PHILLIPS/GUYTON)
                                                    )
                                                    )
MICHAEL OGLE                                        )

                          ORDER OF DETENTION PENDING TRIAL

                 The defendant appeared in custody before the undersigned on August 7, 2008, for

an arraignment on an indictment. Assistant United States Attorney Tracy L. Stone was present

representing the government. Kim A. Tollison, Federal Defender Services, appeared as counsel

representing the defendant. Counsel for the defendant, announced that the defendant would

waive a detention hearing at this time and reserve his right to move for a detention hearing at a

later date. The defendant and his attorney executed the appropriate Waiver of Detention Hearing

in open court.

       The defendant is aware of his rights to a detention hearing and to require the government

to meet its burden of proving that no conditions of release exist which will reasonably assure his

appearance in court and the safety of the community. The defendant understands that if he waives

his detention hearing, he will remain in custody pending trial. The defendant acknowledged in

open court that he has no questions and understands his rights and the consequences of waiving

those rights, and agreed to be detained without bond pending trial.




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        Should information having a material bearing on the issue of release subsequently become

available, indicating a change in the defendant's circumstances, the defendant, through counsel,

may file a motion requesting a bond hearing.

        The defendant is ORDERED detained without bond pending trial.

                                            ENTER:

                                           s/ H. Bruce Guyton
                                            United States Magistrate Judge




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